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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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03 MDL 1576 (GBD)
. In re Terrorist Attacks on September 11,2001 | ECF Case

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‘This document relates to:

Federal Insurance Co., et al. v. Al Qaida, et al., No. 03-CV-6978 (GBD)

NOTICE OF VOLUNTARY DISMISSAL

Plaintiffs Zurich American Insurance Company, American Guarantee and Liability
Insurance Company, American Zurich Insurance Company, Assurance Company of America,
Colonial American Casualty and Surety Insurance Company, Fidclity and Deposit Company of
Maryland, Maryland Casualty Company, Northern Insurance Company of New York, Steadfast
Insurance Company and Valiant Insurance (collectively, “Zurich Plaintiffs”) seek to withdraw

trom this litigation in its entirety.

To that end, pursuant to Fed. R. Civ. P. 41(a)(1)(A)i), the Zurich Plaintiffs hereby
dismiss, from the action captioned /#ederal Insurance Co. v. Al Qaida, No. 03-cv-6978 (GBD},
all claims against all defendants who have yet to file either an answer or a motion for summary

Judgment.

As to those defendants who have filed an answer or motion for summary judgment, the
Zurich Plaintiffs are attempting to reach stipulations of dismissal with such defendants pursuant

to Fed. R. Civ. P, 41(a)(1 )(A)Gi) and will file any such stipulations separately. If the Zurich
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Plaintiffs are unable to reach stipulations of dismissal with those defendants, the Zurich Plaintiffs

will seck a court order allowing themselves 1o withdraw from the action as to those defendants.

In addition, the Zurich Plaintiffs are voluntarily withdrawing from the interlocutory
appeal pending in the United States Court of Appeals for the Second Circuit under the caption Jn
re: Terrorist Attacks on September 11], 2001, Docket No. 06-0319-cv. An application for
withdrawal is being filed in the Second Circuit simultaneously with the filing of this Notice of

Voluntary Dismissal.

The listed plamtiffs’ voluntary dismissal of their claims against such defendants does not

affect the status of the action of all other plaintiffs against those or any other defendants.
No counterclaims have been asserted against any of the listed plaintiffs in the action.

Respectfully submitted,

COZEN O’CONNOR,
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Attorneys for Zurich American insurance
Company and the other piaintiffs listed
above

Dated: April 7, 2008

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